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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

        Plaintiff,

 and                                                             Civil Action No. 10-CV-13101

 SIERRA CLUB,                                                    HON. BERNARD A. FRIEDMAN

        Plaintiff-Intervenor,

 vs.

 DTE ENERGY COMPANY and
 DETROIT EDISON COMPANY,

        Defendants.
 ______________________________/

                       OPINION AND ORDER GRANTING INTERVENOR’S
                            MOTION FOR VOLUNTARY DISMISSAL

                 This matter is presently before the Court on the motion of plaintiff-intervenor “to enter

 agreement between Sierra Club and DTE or, in the alternative, notice of that agreement” [docket entry

 267]. Plaintiff and DTE have responded. Sierra Club and plaintiff have filed a reply and sur-reply,

 respectively. Pursuant to E.D. Mich. LR 7.1(f)(2), the Court shall decide the motion without oral

 argument. For the reasons stated below, the Court shall grant the motion and dismiss Sierra Club’s

 complaint, as Sierra Club requests.

                 The present dispute arises from a Clean Air Act (“CAA”) enforcement action brought

 by the United States against DTE on August 5, 2010. The government alleged that defendants had

 violated two provisions of the CAA – the Prevention of Significant Deterioration provision and the

 New Source Review provision – by carrying out major modifications at Unit 2 of its Monroe Power

 Plant in Monroe, Michigan, without obtaining permits, installing the requisite pollution-reducing

 technologies, or achieving the “lowest achievable emissions rate.” Compl. ¶¶ 1-2. The complaint
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 further alleged that

                 [a]s a result of Defendant’s operation of Monroe Unit 2 following the
                 unlawful modification, large amounts of SO2, NOx, and related
                 pollution are and will be released into the atmosphere . . . . These
                 pollutants cause harm to human health and the environment once
                 emitted into the air, including premature death, heart attacks, and
                 respiratory problems.

 Compl. ¶ 3. In November 2010, this Court allowed Sierra Club to intervene as a private attorney

 general pursuant to Fed. R. Civ. P. 24 and 42 U.S.C. § 7604(b)(1)(B) and upon consideration of the

 stipulation between DTE and Sierra Club in which those parties recognized Sierra Club’s right to

 request relief distinct from that pursued by the government. In 2014, both Sierra Club and the United

 States filed amended complaints, both of which included substantially similar allegations regarding

 modified units at two additional facilities operated by DTE – the Belle River Power Plant in East

 China, Michigan, and the Trenton Channel Power Plant in Trenton, Michigan. The United States

 explained that “[b]ased on data reported by Defendants to [the Environmental Protection Agency],

 each of the Modified Units is one of the largest sources of air pollution in the state of Michigan.” Pl.’s

 Am. Compl. ¶ 55.

                 After years of litigation and two appeals, this proceeding was stayed on February 2,

 2018, pending settlement negotiations. These negotiations ultimately produced the consent decree that

 was lodged with this Court on May 14, 2020, and entered on July 22, 2020 [docket entry 282]. The

 United States, DTE, and Sierra Club all took part in the negotiations and all agreed to the terms of the

 proposed consent decree. In the United States’ Notice of Lodging, the requirements of the decree were

 summarized as follows:

                 Under the proposed Consent Decree, DTE would be required to reduce
                 the emissions at each of its coal-fired electric units. The decree also
                 requires DTE to pay a civil penalty of $1.8 million and perform an
                 environmental mitigation project that replaces municipal buses with

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                lower emissions buses.

 Pl.’s Not. Lodg. at 1 [docket entry 266]. The consent decree also recognizes DTE’s and Sierra Club’s

 intent to submit a separate proposed agreement (“the Separate Agreement”) between the two parties

 that would resolve all of Sierra Club’s actual and potential claims against defendants in relation to

 prior power plant modifications.1 Consent Decree ¶ 121. However, the United States reserved the

 right to oppose any motions concerning, or the Court’s approval of, the Separate Agreement. Id.

                Pursuant to ¶ 121 of the consent decree, Sierra Club submitted the Separate Agreement

 for entry on May 22, 2020, by filing the instant motion. Sierra Club summarizes the main provisions

 of the Separate Agreement as follows:

                DTE commits to: (1) funding at least $2 million in community based
                environmental projects in Ecorse, River Rouge, and the 48217 zip
                code,2 (2) carrying out a project to improve energy efficiency and
                reduce energy use at a public recreation center in the 48217 zip code,
                (3) satisfying the $5.5 million bus replacement projects required under
                the proposed Consent Decree through the provision of electric buses
                and related electrification infrastructure in Ecorse, River Rouge, the
                48217 zip code, and/or other non-attainment or environmental justice
                areas in Wayne County, and (4) retiring certain power plants.

 Sierra Club’s Mot. at 4. The stated goal of the Separate Agreement is to “achieve further air quality

 and public health benefits for communities in Southeast Michigan,” id. at 7, which were “especially

 hard hit by air pollution from DTE’s power plants and other industrial sources for decades.” Id. at 12.

 In its motion, Sierra Club also asserts that the terms of the Separate Agreement “plainly advance the

 Clean Air Act’s goal of ‘protect[ing] and enhanc[ing] the quality of the Nation’s air resources so as

 to promote the public health and welfare and the productive capacity of its population.’” Id. (citations


        1
         Sierra Club filed its own amended complaint in this matter in May 2014. See docket entry
 214.
        2
         The 48217 ZIP code is an area of southwest Detroit that borders the city of River Rouge.

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 omitted).

                 In their response to this motion, defendants state that, beyond resolving the claims in

 this case, they entered the agreement to “foster improved relations with Sierra Club and to provide

 benefits to a valued local community.” Defs.’ Resp. at 1-2. The response further states that “DTE

 intends to abide by its commitments whether this Agreement is entered as a federal Consent Decree

 or stands as an independent contractual agreement under state law.” Id. at 2.

                 The United States opposes the motion on the grounds that the Separate Agreement is,

 in effect, a second consent decree or judgment and thus erodes “government enforcement primacy,”

 “conflict[s] with the statutory scheme,” is “contrary to sound environmental enforcement policy,” and

 potentially interferes with constitutionally mandated separation of powers. Pl.’s Resp. at 1, 7, 18, 22-

 25.

                 This motion presents two distinct issues: First, whether the Separate Agreement is a

 private settlement between Sierra Club and DTE, as opposed to a consent decree entered and enforced

 by the Court. Second, if the Separate Agreement is deemed to be a consent decree, the Court must

 decide whether the terms of the CAA and the Constitution permit entry of such an agreement. Upon

 review of the parties’ arguments and relevant case law, the Court believes that only the first issue need

 be addressed.

                 The Sixth Circuit has described the difference between consent decrees and private

 settlement agreements as follows:

                 A consent decree is essentially a settlement agreement subject to
                 continued judicial policing. Consent decrees typically have two key
                 attributes that make them different from private settlements. First,
                 when a court enters a consent decree, it retains jurisdiction to enforce
                 the decree. In contrast, the parties to a private settlement typically
                 must bring another suit (for breach of contract) to enforce it. Second,
                 a consent decree puts the power and prestige of the court behind the

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                 compromise struck by the parties. The same is not true of a dismissal
                 order that does not incorporate the parties’ terms.

 Pedreira v. Sunrise Children’s Servs., Inc., 802 F.3d 865, 871 (6th Cir. 2015) (internal quotation marks

 and citations omitted). See also Ne. Ohio Coalition for Homeless v. Sec’y of Ohio, 695 F.3d 563, 572

 (6th Cir. 2012) (“It is true that a consent decree is a settlement agreement subject to continued judicial

 policing.”) (internal quotation marks omitted). In the present case, the consent decree and Separate

 Agreement reflect these distinctions in the express terms of each agreement. The consent decree

 provides that “the Court shall retain jurisdiction of this case . . . to enforce compliance with the terms

 and conditions of this Consent Decree and to take any action necessary or appropriate for the

 interpretation, construction, execution, or modification of the Consent Decree, or for adjudication of

 disputes.” Consent Decree ¶ 105. In contrast, the Separate Agreement states that “[a] party seeking

 to resolve a dispute arising over the terms and conditions contained in this Agreement must seek relief

 from a court of competent jurisdiction located in Wayne County, Michigan. Separate Agreement ¶ 21.

 As to the former, the Court retains jurisdiction over the matter and, by entering the decree and agreeing

 to enforce its terms, “puts the power and prestige of the court behind the compromise struck by the

 parties.” As to the latter, the Court does none of the above.

                 Sierra Club submitted the Separate Agreement to the Court pursuant to the terms of the

 parties’ proposed consent decree, but the Court has no role to play in either approving or disapproving

 of this private settlement. It is true, as the United States emphasizes, that the CAA does not provide

 boundless opportunities or remedies for citizen suits, like that which was brought by Sierra Club in the

 present case. Rather, the Sixth Circuit has held that “Congress authorized citizen suits only when

 environmental officials ‘fail to exercise their enforcement responsibility’. . . .” Ellis v. Gallatin Steel

 Co., 390 F.3d 461, 475 (6th Cir. 2004) (emphasis in original) (quoting Gwaltney of Smithfield, Ltd.


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 v. Chesapeake Bay Found., Inc., 484 U.S. 49, 60-61 (1987)). However, the issue before the Court is

 not whether a private attorney general can bring suit in the present matter (the issue in Gwaltney),

 Gwaltney, 484 U.S. at 52, nor is it whether a private attorney general can obtain court-mandated relief

 “for post-consent-decree violations” by defendants (the issue in Ellis). Ellis, 390 F.3d at 474. Rather,

 this is an unusual situation where two parties have mutually consented to be legally bound to a private

 contract, which is only before the Court due to the terms of a collectively agreed upon consent decree.

                 Further, neither the United States’ interests nor any of the terms of the consent decree

 are eroded or jeopardized as a consequence of the Separate Agreement. In its reply brief, Sierra Club

 explains that

                 the Agreement is entirely consistent with the Consent Decree . . . . The
                 Agreement . . . requires that DTE follow through on its long-
                 announced plans to retire (rather than retrofit, refuel, repower, or
                 retire, as provided in the Consent Decree) three coal plants and use
                 electric (rather than simply lower-emitting) buses in the Consent
                 Decree’s mitigation project. Without altering the Consent Decree’s
                 $1.8 million civil penalty, the Agreement further improves air quality
                 in communities hard hit by DTE’s emissions by requiring that DTE (1)
                 carry out an energy efficiency/ energy use reduction project at a
                 community center and (2) fund at least $2 million in environmental
                 mitigation projects in such communities.

 Sierra Club’s Reply at 4-5 (emphasis in original) (citations omitted). In short, the Separate Agreement

 does nothing to interfere with the consent decree; DTE’s obligations under the former do not encroach

 on, but exceed and complement, its obligations under the latter.

                 Further, the Court rejects the government’s suggestion that DTE’s separately negotiated

 agreement with Sierra Club “conflict[s] with the statutory scheme,” is “contrary to sound

 environmental enforcement policy,” and potentially interferes with constitutionally mandated

 separation of powers. The agreement in this case does none of these things, but accomplishes an

 enormous environmental benefit that is fully consistent with the goals of the CAA.

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                As the Separate Agreement between DTE and the Sierra Club is a private settlement

 agreement and not a consent decree, the Court shall not incorporate the terms of the agreement into

 the consent decree, nor shall it enter the agreement. Rather, the Court shall, based on this agreement

 and on Sierra Club’s request, dismiss Sierra Club’s amended complaint pursuant to Fed. R. Civ. P.

 41(a)(2). Accordingly,



                IT IS ORDERED that Sierra Club’s amended complaint is hereby voluntarily

 dismissed, the intervenor and defendants having resolved that matter privately.




                                                s/Bernard A. Friedman
                                                BERNARD A. FRIEDMAN
 Dated: December 3, 2020                        SENIOR UNITED STATES DISTRICT JUDGE
        Detroit, Michigan




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